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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION
                                      www.flsb.uscourts.gov

In re:                                                 Case No. 08-10928-JKO

TOUSA, Inc., et al.                                    Chapter 11

         Debtors.

J BECK & ASSOCIATES, INC., as Liquidation              Adv. Pro. No. 10-02125-JKO
Trustee for the TOUSA Liquidation Trust,

         Plaintiff,

v.

FALCONE/TEP HOLDINGS, LLC f/k/a
FALCONE/RITCHIE, LLC; INDEPENDENCE
LAND DEVELOPMENT 23, LLC; LIVE OAK
LANDBANK 2, LLC, NICKMATDAN
LANDBANK, LLC; OAK CREEK LANDBANK,
LLC; WESTWOOD BERKSHIRE LANDBANK,
LLC; WI 825 PARTNERS, LLC; KENDALL
LAND DEVELOPMENT, LLC; AND VIZCAYA
IN KENDALL COMMUNITY DEVELOPMENT
DISTRICT,

         Defendants.


               JOINT STIPULATION OF DISMISSAL OF CERTAIN DEFENDANTS

         Plaintiff, J Beck & Associates, Inc., as Liquidation Trustee for the TOUSA Liquidation Trust

(“Plaintiff”), and defendants, Falcone/TEP Holdings, LLC f/k/a Falcone/Ritchie, Independence Land

Development 23, LLC, Live Oak Landbank 2, LLC, Nickmatdan Landbank LLC, Oak Creek

Landbank, LLC, Westwood Berkshire Landbank, LLC, and WI 825 Partners, LLC (collectively, the

“Dismissed Defendants”), pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, as

made applicable to this proceeding by Rule 7041 of the Federal Rules of Bankruptcy Procedure,
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stipulate to the dismissal of the Dismissed Defendants from this action with prejudice.

         Each party is to bear its own attorneys’ fees and costs in this matter.

Dated: June 18, 2019

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  I hereby certify that the undersigned attorney is appearing pro hac vice in this matter pursuant to Court order dated July 3,
2018 [ECF No. 295].
2
  I hereby certify that the undersigned attorney is appearing pro hac vice in this matter pursuant to Court order dated July 3,
2018 [ECF No. 294].
3
  Electronically signed with permission.


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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served on all counsel

of record or pro se parties identified on the attached Service List via the Court’s CM/ECF notification

to those parties who are registered CM/ECF participants in this case on June 18, 2019.

                                                      /s/ Grace E. Robson
                                                      Grace E. Robson




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